Case 3:14-cr-00051-RGJ-KLH          Document 58       Filed 06/26/14      Page 1 of 8 PageID #:
                                           178



                           UNITED STATES DISTRICT COURT

                          WESTERN DISTRICT OF LOUISIANA

                                     MONROE DIVISION


UNITED STATES OF AMERICA                            CRIMINAL ACTION NO. 14-00051-01

VERSUS                                              JUDGE ROBERT G. JAMES

KIMBERLIA HARRIS                                    MAG. JUDGE KAREN L. HAYES



                                            RULING

       Pending before the Court are Defendant Kimberlia Harris’ (“Harris”) Motion to Sever

Trial from Co-Defendants (“Motion to Sever”) [Doc. No. 52] and Motion to Dismiss [Doc. No.

54]. The Government has filed an “In Globo Response” to the motions1 [Doc. No. 56]. Harris

filed a reply in support of her motions. [Doc. No. 57]. For the following reasons, Harris’ motions

are DENIED.

                                      ALLEGED FACTS

       Harris and her Co-Defendants, Angela Woods and Willie Mae Jackson-Woods, are each

charged in a twelve-count Indictment with conspiracy to defraud the United States, the transfer or

unauthorized use of food stamps (SNAP fraud), wire fraud, and WIC fraud.

       Harris was the owner of Dee’s Grocery Store (“Dee’s”) in Monroe, Louisiana. Co-

Defendant Willie Mae Jackson-Woods (“Jackson-Woods”) was the manager of the store, and

Co-Defendant Angela Woods (“Woods”) was an employee at the store.

       Harris completed SNAP and WIC applications for Dee’s to become an authorized retailer

       1
        The Government also responds to Harris’ Motion to Suppress, but that motion is pending
before Magistrate Judge Karen L. Hayes and will be addressed separately.
Case 3:14-cr-00051-RGJ-KLH           Document 58        Filed 06/26/14     Page 2 of 8 PageID #:
                                            179



for those programs, both of which were later approved. The Indictment alleges that beginning on

or about August 8, 2008, and continuing until their arrest, all Defendants “devised, intended to

devise, and knowingly participated in a scheme to defraud and obtain money from the SNAP and

WIC programs by means of materially false and fraudulent pretenses, representations, and

promises.” [Doc. No. 1, ¶ 27]. The Indictment further alleges that the Defendants conspired to

profit by exchanging SNAP and WIC benefits for lesser amounts of cash and by allowing the

program benefits to be used to purchase ineligible items, such as cigarettes.

                                     LAW AND ANALYSIS

       A.      Motion to Sever

       Harris first moves for severance of her trial from that of her Co-Defendants, particularly

the trial of Jackson-Woods. Harris argues that most of the evidence does not pertain to her, that

she has an antagonistic defense, and that she would be unable to cross examine her Co-

Defendants on videotaped surveillance. Harris explains that Dee’s was formerly run by her

boyfriend, who is now deceased. He had hired his relatives, including Jackson-Woods and

Woods, to work in the business, but Harris did not participate in the day-to-day activities. She

contends that Jackson-Woods wanted to become the owner of Dee’s after the death of Harris’

boyfriend. When Harris became the owner instead, Jackson-Woods allegedly threatened to get

her in trouble, claiming that she could do so because everything in the business was in Harris’

name. Harris argues that she and her Co-Defendants have antagonistic defenses because she will

claim that she was not involved in the daily running of the business, worked at another business,

and had no knowledge of the alleged illegal activities. In contrast, she anticipates that Jackson-

Woods will try to place the blame on her as owner. According to Harris, the Government’s


                                                 2
Case 3:14-cr-00051-RGJ-KLH           Document 58        Filed 06/26/14      Page 3 of 8 PageID #:
                                            180



“scatter gun approach” in this case has caused “confusion for the investigators, confusion for the

government, confusion for the court and most certainly will result in confusion for the jury”

without severance. [Doc. No. 57, p. 2].

       The Government contends that the Defendants are properly joined for trial and that there

is no specific and compelling prejudice to justify severance. Contrary to Harris’ allegations that

the evidence is heavily weighted against her Co-Defendants, the Government points out that

there is video footage of Harris at the cash register when undercover agents exchanged

SNAP/WIC benefits for cash. The Government argues further that even if there is some

prejudicial spillover effect from the evidence against Jackson-Woods and Woods, this spillover

is not sufficient to justify severance. Next, the Government responds that Harris has failed to

meet the minimal standard supporting severance based on her alleged desire to call Co-

Defendants as witnesses. Finally, the Government contends that, even if the defenses of the

Defendants are antagonistic, Harris has failed to show that they are mutually exclusive and

irreconcilable.

       The Fifth Circuit has consistently held that when persons are indicted together, they

should be tried together. United States v. McKinney, 53 F.3d 664 (5th Cir. 1995); United States

v. Wilwright, 56 F.3d 586 (5th Cir. 1995). This is especially true when a conspiracy is charged.

United States v. Neal, 27 F.3d 1035, 1045 (5th Cir. 1994). Joint trials “promote efficiency and

‘serve the interests of justice by avoiding the scandal and inequity of inconsistent verdicts.’”

Zafiro v. United States, 506 U.S. 534, 537 (1993) (quoting Richardson v. Marsh, 481 U.S. 200,

210 (1987)).

        Rule 14 of the Federal Rules of Criminal Procedure provides that a court may grant a


                                                  3
Case 3:14-cr-00051-RGJ-KLH              Document 58         Filed 06/26/14       Page 4 of 8 PageID #:
                                               181



severance of defendants when it appears that a defendant will be prejudiced by a joint trial. FED.

R. CRIM. P. 14. To justify severance of co-defendants, the movant must show that he would

suffer specific and compelling prejudice against which the court is unable to provide protection,

such as through a limiting instruction, and that this prejudice would result in an unfair trial.

United States v. Kaufman, 858 F.2d 994, 1003 (5th Cir. 1988) (citing United States v. Toro, 840

F.2d 1221, 1238 (5th Cir. 1988)); see also United States v. Lewis, 476 F.3d 369, 383 (5th Cir.

2007) (citing United States v. Sudeen, 434 F.3d 384, 387 (5th Cir. 2005)). The United States

Court of Appeals for the Fifth Circuit has “held that a quantitative disparity in the evidence is

clearly insufficient in itself to justify severance . . . . [and] . . . that the mere presence of spillover

effect does not ordinarily warrant severance.” United States v. Pofahl, 990 F.2d 1456, 1483 (5th

Cir. 1993) (internal citations and quotations omitted). “[E]ven where defendants have markedly

different degrees of culpability, severance is not always required if less drastic measures, such as

limiting instructions will suffice to cure the prejudice.” Burton v. United States, 237 F.3d 490,

(5th 2000) (citing United States v. Broussard, 80 F.3d 1025, 1037 (5th Cir.1996)). Moreover,

more than a mere showing of “antagonistic” defenses is necessary to support severance. United

States v. Berkowitz, 662 F.2d 1127, 1133 (5th Cir. 1981). The defenses must also be mutually

exclusive and irreconcilable. United States v. Romanello, 726 F.2d 173, 177 (5th Cir.1984). “A

district court should grant a severance under Rule 14 only if there is a serious risk that a joint trial

would compromise a specific trial right of one of the defendants, or prevent the jury from making

a reliable judgment about guilt or innocence.” Zafiro, 506 U.S. at 539.

        The Court finds no compelling reason for severance in this case. All Defendants are

charged with conspiracy in one count and with the same substantive conduct in the remaining


                                                     4
Case 3:14-cr-00051-RGJ-KLH           Document 58        Filed 06/26/14       Page 5 of 8 PageID #:
                                            182



eleven counts. With regard to the weight of the evidence and the potential spillover effect, the

Court believes that the jury, with proper instruction, can separate and consider the Government’s

case against each Defendant. Therefore, these concerns are insufficient to justify severance.2

       Further, Harris has not demonstrated that a severance is necessary based on a possible

desire to call her Co-Defendants as witnesses at trial. She states only that she “will be prejudiced

if the video surveillance [of her Co-Defendants] is admitted into evidence and this evidence

cannot be dispelled by cross-examination if the [Co-Defendants do] not take the stand.” [Doc.

No. 52-1, p. 5]. Harris does not raise a Bruton3 claim, nor does she contend that if a severance

were granted one or both of her Co-Defendants would provide exculpatory testimony on her

behalf.4 Rather, Harris’ argument is that she would be prejudiced if video of the Co-Defendants,

not Harris herself, is introduced at trial, and she cannot cross-examine Co-Defendants about the




       2
         The Government’s charging of former Co-Defendant Olympia Harris and subsequent
dismissal of those charges against her provide no basis for Harris’ contention in this motion that
the jury will somehow be confused.
       3
         In Bruton v. United States, 391 U.S. 123 (1968), the Supreme Court held that a criminal
defendant’s Sixth Amendment confrontation right is violated where a hearsay statement by his
co-defendant inculpating the defendant is admitted into evidence, and the co-defendant does not
testify. 391 U.S. at 126.

       4
         If a defendant moves for severance based on the a co-defendant’s willingness to testify on
the defendant’s behalf, the defendant must demonstrate “(1) a bona fide need for the testimony;
(2) the testimony’s substance; (3) its exculpatory nature and effect; and (4) the willingness of the
[co-defendant] to testify.” United States v. Tencer, 107 F.3d 1120, 1132-33 (5th Cir. 1997)
(citation omitted). If the defendant makes this showing, “a court must consider, among other
things, the significance of the testimony in relation to the defendant’s theory of defense and the
extent of prejudice caused by the absence of such testimony.” Id. at 1133 (citation omitted).


                                                  5
Case 3:14-cr-00051-RGJ-KLH            Document 58        Filed 06/26/14      Page 6 of 8 PageID #:
                                             183



video.5 This argument, too, is insufficient to justify severance.

       Finally, as the Government points out, Harris cannot obtain a severance on the basis that

her defense may be antagonistic to her Co-Defendants. At best, she has offered speculation that

one of her Co-Defendants, Jackson-Woods, may attempt to place the blame on her. Harris

herself has said that she will deny any wrongdoing or that she knew about any wrongdoing,

which may well be consistent with a defense by Jackson-Woods or Woods that they were not

engaged in wrongdoing either. At this point, Harris simply has not met her burden.

       The Court has found that Harris has failed to show specific and compelling prejudice

against which the Court is unable to provide protection or that such prejudice would result in an

unfair trial. Therefore, Harris’ Motion to Sever is DENIED. The Court will consider any

redaction and/or limiting instructions to address her concerns. If Harris seeks redaction and/or

limiting instructions, she should submit her proposal with her other pre-trial submissions.

       B.      Motion to Dismiss

       Harris next moves to dismiss Count 2-7 of the Indictment, which charge Harris, Jackson-

Woods, and Woods with the transfer or unauthorized use of food stamps or SNAP fraud. Harris

argues that the Indictment is insufficient because it fails to allege “who did what,” and it is

unclear “whether movant is being charged as a principle or whether or not she is being charged

directly with committing . . . the specific acts.” [Doc. No. 54-1, p. 3]. Harris contends that the

Government should have charged “each individual with what that individual is alleged to have

done.” [Doc. No. 57, p. 4].

       The Government responds that the Indictment properly tracks the language of the statute


       5
        Although the Government points out that there is video of Harris also, her arguments in
the Motion to Sever relate only to video surveillance of Co-Defendants. [Doc. No. 52-1, p. 5].

                                                  6
Case 3:14-cr-00051-RGJ-KLH            Document 58        Filed 06/26/14       Page 7 of 8 PageID #:
                                             184




and that, additionally, Count 1 details the manner and means of the conspiracy and scheme to

defraud.

        “The test of the sufficiency of an indictment is whether it charges all of the elements of

the offense so that an accused may prepare his defense and be protected against double

jeopardy.” United States v. Barksdale–Contreras, 972 F.2d 111, 113 (5th Cir. 1992) (citing

Hamling v. United States, 418 U.S. 87, 117 (1974)). The “‘indictment need not precisely track

the language of the statute; it is sufficient if it informs the defendant of every element of the

offense charged.’” Id. (quoting United States v. Hernandez, 891 F.2d 521, 524 (5th Cir. 1989)

(other citation omitted)).

        In this case, Harris is charged in Counts 2-7 under 7 U.S.C. § 2024(b), which provides

that whoever “knowingly uses, transfers, acquires, alters, or possesses benefits in any manner

contrary to this chapter or the regulations issued pursuant to this chapter shall” be subject to

certain penalties based on the value of the benefits. The Indictment charges that Harris and her

Co-Defendants

        knowingly used, transferred, acquired and possessed SNAP benefits, to wit, food
        stamp benefits, authorization cards and access devices of a value of $100.00 or
        more, in a manner contrary to Chapter 51 of Title 7, United States Code, in the
        United States Department of Agriculture (USDA) SNAP benefits totaling the
        amounts specified in the table . . . were acquired by the defendants, KIMBERLIA
        HARRIS, ANGELA WOODS, . . . and WILLIE MAE JACKSON-WOODS, in
        exchange for cash in the amounts specified in the table . . . and other ineligible
        items such as tobacco, which was prohibited by statute and regulations governing
        SNAP.

[Doc. No. 1, pp. 8-9]. The Indictment further cites 18 U.S.C. § 2, which is the aiding and

abetting statute.


                                                  7
Case 3:14-cr-00051-RGJ-KLH           Document 58        Filed 06/26/14      Page 8 of 8 PageID #:
                                            185




       After consideration of the Indictment and review of the statute under which Harris is

charged, the Court finds that the Government has sufficiently charged the elements of the

offense. Given the nature of the acts charged and the fact that Harris is charged both in the

conspiracy and with the substantive acts at issue, she has received sufficient notice of her alleged

wrongful conduct. Therefore, Harris’ Motion to Dismiss Counts 2-7 is DENIED.

                                         CONCLUSION

       For the foregoing reasons, Harris’ Motion to Sever [Doc. No. 52] and Motion to Dismiss

[Doc. No. 54] are DENIED.

       MONROE, LOUISIANA, this 26th day of June, 2014.




                                                 8
